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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION


 DANCO, INC.,

      Plaintiff,

 v.                                     Civil Action No.: 5:16-CV-00073-JRG-CMC


 FLUIDMASTER, INC.,

      Defendant.




                            PLAINTIFF DANCO, INC.’S
                      OPENING CLAIM CONSTRUCTION BRIEF
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                                        LIST OF EXHIBITS

 Exhibit A: United States Patent No. 8,943,620 issued February 13, 2015

 Exhibit B: United States Patent No. 9,181,687 issued November 10, 2015

 Exhibit C: Danco’s P.R. 3-1 Infringement Contentions

 Exhibit D: Danco’s Preliminary Election of Asserted Claims

 Exhibit E: Danco’s P.R. 4-1 Proposed Terms and Claim Elements for Construction

 Exhibit F: Danco’s P.R. 4-2 Preliminary Claim Constructions

 Exhibit G: Fluidmaster’s P.R. 4-1 Proposed Terms and Claim Elements for Construction

 Exhibit H: Fluidmaster’s P.R. 4-2 Preliminary Claim Constructions

 Exhibit I:   Declaration of Chad H. Jones

 Exhibit J:   Random House Webster’s Unabridged Dictionary, Second Edition (1999)

 Exhibit K: Webster’s Third New International Dictionary of the English Language Unabridged (3d ed.
            2002)

 Exhibit L: Fluidmaster IPR Petition for the ‘620 Patent

 Exhibit M: ASME Standard A112.19.10-1994

 Exhibit N: ASME Standard A112.19.2M-1998

 Exhibit O: Fluidmaster’s U.S. Patent No. 8,250,681

 Exhibit P: Fluidmaster webpage found at http://www.fluidmaster.com/toilet/part-type/flush-valves/

 Exhibit Q: Declaration of Stephen E. Maple from Fluidmaster’s IPR Petition for the ‘620 Patent

 Exhibit R: Declaration of Stephen E. Maple from Fluidmaster’s IPR Petition for the ‘687 Patent

 Exhibit S: Fluidmaster IPR Petition for the ‘687 Patent

 Exhibit T: Table of Terms for Construction and Danco’s Proposed Constructions




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 I.       INTRODUCTION

      Plaintiff Danco, Inc. (“Danco”) hereby respectfully submits its Opening Brief on Claim

 Construction in accordance with P.R. 4-5(a) and the Fourth Amended Docket Control Order. (Docket

 Entry # 83 at 5). As required by P.R. 4-5(a), this Opening Brief sets forth Danco’s opening brief and

 any evidence supporting its claim construction.”

          A. The Relevant Technology and the Invention of the Asserted ‘620 and ‘687 Patents

      Danco is one of the largest plumbing repair, replacement, and remodel suppliers in the home

 improvement industry. Danco offers for sale its innovative plumbing solutions through various

 nationwide retailers, such as Home Depot and Lowe’s. Danco’s innovative plumbing solutions include

 a number of inventions related to novel toilet fill valves and flush valves, including dual-flush

 converters that quickly and easily convert a standard toilet into a water-saving dual flush toilet. These

 inventions include, but are not limited to, the dual flush designs disclosed in U.S. Patent No. 8,943,620

 (“the ’620 Patent”) and U.S. Patent No. 9,181,687 (“the ’687 patent”).

      Generally, when a toilet is flushed, an apparatus known as a “flush valve” controls the release of

 water stored in the toilet’s tank. Conventional toilets feature a single-flush capability that typically

 results in more water than necessary being used to flush different types of waste. Dual flush technology

 can help in water conservation efforts by providing reduced water volumes released through the flush

 valve when a toilet is flushed.1 The inventions of Danco’s ’620 Patent and ’687 Patent – each entitled

 “Adaptation of Flush Valve for Dual Flush Capability” – are generally directed to systems and methods

 for adapting preexisting single-flush flush valves so that they are compatible with flush mechanisms,

 such as dual-flush canisters, without having to replace either the entire toilet tank and/or the entire

 existing flush valve. Specifically, the Abstract of the ’620 and ‘687 Patents states that the patents-in-suit

 disclose “[v]arious apparatuses and methods that facilitate dual flush capability.” (See Ex. A (’620

 1
   For the Court’s convenience, Danco has this day provided the Court with two video presentations further illustrating the
 relevant technology and invention of the ‘620 and ‘687 Patents.


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 Patent) and Ex. B (‘687 Patent) at “Abstract”). The Abstract further describes “a dual flush mechanism

 configured to provide for a dual flush capability in a toilet,” where “[t]he dual flush mechanism can

 include a basket structure” and an attached “gasket” that “can form a seal between the dual flush

 mechanism and a flush orifice of a flush valve.” (Id.). As a result, the dual flush mechanism can be

 installed with the existing toilet flush valve to provide dual flush capability. (Id.).

         B. The Claims at Issue

     As set forth in Danco’s Disclosure of Asserted Claims and Infringement Contentions (Ex. C

 hereto), and as limited in accordance with General Order No. 13-20 in Danco’s Preliminary Election of

 Asserted Claims (Ex. D hereto), Danco alleges that Defendant Fluidmaster, Inc. “(Fluidmaster) has

 directly infringed and continues to infringe Claims 1-2, 4, 11-12 and 20 of the ‘620 Patent. Danco

 further contends that Fluidmaster has indirectly infringed and continues to infringe Claims 21-22 of the

 ‘620 Patent. Danco further contends that Fluidmaster has directly infringed and continues to infringe at

 least Claims 4, 7, 9, 13-15, 17, and 19-21 of the ‘687 Patent. (Ex. C at 2; Ex. D at 2).

         C. The Claim Terms and Phrases at Issue

     In its P.R. 4-1 exchange of Proposed Terms and Claim Elements for Construction, Danco identified

 three terms of the ‘620 and ‘698 Patents (“detachably attached,” “flush valve,” and “dual flush

 canister”) that should be construed by the Court. (See Ex. E). Because Danco contends the

 corresponding terms in the two patents should be ascribed consistent constructions, Danco has

 identified three discrete claim terms/phrases as needing construction by the Court:

               Disputed Claim Term/Phrase                             Danco’s Proposed Construction
                 “detachably attached”
                                                                           “removably retained”
                   (‘620 Patent: Claim 1)
                (‘687 Patent: Claims 4, 14)
                       “flush valve”
                                                               “a valve located at the bottom of a toilet tank
                                                              used to discharge water from the toilet tank to a
                (‘620 Patent: Claims 1, 21)
                                                                                toilet bowl”
                (‘687 Patent: Claims 4, 14)



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                   “dual flush canister”
                                                            “cylindrical-shaped mechanism providing for two
             (‘620 Patent: Claims 1, 6, 11, 14)                              flush volumes”
        (‘687 Patent: Claims 4, 7, 9, 14, 17, 19, 20)

 Danco’s P.R. 4-2 exchange of Preliminary Claim Constructions remained consistent with its P.R. 4-1

 disclosure: the above-identified three terms require construction by the Court and all remaining

 disputed claim terms do not require construction and should, instead, be ascribed their plain and

 ordinary meaning as understood by a person of ordinary skill in the art. (See Ex. F).

     Fluidmaster, on the other hand, initially contended that 41 claim terms/phrases require construction

 by the Court and that another 17 phrases should be governed by the means-plus-function provisions of

 35 U.S.C. § 112, ¶ 6. (See Ex. G at 2-6). In its subsequent P.R. 4-2 disclosures, however, Fluidmaster

 abandoned its position as to the necessity for the Court to construe 17 of the 41 terms it originally

 proposed and conceded that those 17 terms should, instead, be attributed their plain and ordinary

 meaning. (See Ex. H at 2-5). Fluidmaster similarly withdrew 12 of its 17 contentions that certain claim

 phrases should be governed by 35 U.S.C. § 112, paragraph 6 (see id. at 5-7), but then newly contended

 that for six disputed terms that “[s]tructure [was] identified in 112(6) contention[s].” (Id. at 4-5).

     The parties have set forth their respective positions on the construction of each of these terms in the

 Joint Claim Construction and Prehearing Statement. (See Docket Entry #72). The parties agree that the

 three terms proposed by Danco should be construed by the Court. The parties do not agree that the five

 additional terms/phrases in the asserted claims of the ‘620 Patent and 18 additional terms or phrases of

 the ‘687 Patent proposed by Fluidmaster for construction actually require construction by the Court.

         D. Summary of Claim Construction Issues to Be Resolved By the Court

     The ‘620 and ‘687 Patents are straightforward mechanical patents that can generally be understood

 by a lay juror. The meaning of each of the three specialized terms identified by Danco for construction

 can easily be determined from reference to the plain language of the claims, the specifications, the file

 histories, and applicable industry standards known to a person of ordinary skill in the art of

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 plumbing/toilet component design. Moreover, because the plain and ordinary meaning of each of the

 remaining disputed terms used in the ‘620 and 687 Patents is the same meaning that a lay juror would

 comprehend without additional definition or guidance from the Court, Danco respectfully submits that

 formal constructions by the Court of these additional terms are unnecessary. Thus, these terms are

 entitled to their plain and ordinary meaning.

     On the other hand, many of Fluidmaster’s proposed constructions violate one of the cardinal rules

 of claim construction by importing one or more limitations from the specification into the claims. In the

 Federal Circuit’s seminal case on claim construction, Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir.

 2005), the Court stated in no uncertain terms that “[t]o avoid importing limitations from the

 specification into the claims, it is important to keep in mind that the purposes of the specification are to

 teach and enable those of skill in the art to make and use the invention and to provide a best mode for

 doing so.” Contrary to the teachings of Phillips and its progeny, Fluidmaster’s unduly-limiting

 constructions admittedly attempt to limit each of the disputed claim terms to only one specific

 embodiment (among a number of example embodiments) described and depicted in the respective

 specifications of the ’620 and ‘687 Patents. As such, as discussed in more detail below, Fluidmaster’s

 proposed constructions are improper, and must be rejected by the Court.

     Moreover, because the Fluidmaster has attempted to amend its P.R. 3-3 Invalidity Contentions out-

 of-time, and the Court has not granted leave to Fluidmaster to belatedly amend its contentions,

 Fluidmaster is not permitted to use the claim construction process as an end-run around the Court’s

 DCO and Local Patent Rule requirements for the timely disclosure of all of Fluidmaster’s

 indefiniteness contentions. See, e.g., P.R. 3-3(d) (“each party opposing a claim of patent infringement,

 shall serve on all parties its "Invalidity Contentions" which must contain … [a]ny grounds of invalidity

 based on indefiniteness under 35 U.S.C. § 112(2) or enablement or written description under 35 U.S.C.

 § 112(1) of any of the asserted claims.” (emphasis added)).



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       Indeed, numerous district courts have found that if a party does not include indefiniteness

 allegations in its invalidity contentions that party cannot later try and correct its error by arguing

 indefiniteness under the guise of claim construction. See, e.g., Auxilium Pharms., Inc. v. Watson Labs.,

 Inc., Civil Action No. 12-3084 (JLL), 2014 U.S. Dist. LEXIS 79962, at *12-13 (D.N.J. June 11, 2014)

 (“Here, because Watson did not raise an indefiniteness defense in its invalidity contentions, the Court

 concludes Watson cannot now seek a determination that the patents-at-issue are invalid for

 indefiniteness through claim construction.”). Because all but one of Fluidmaster’s indefiniteness

 arguments are not properly at issue in this case, Fluidmaster is not permitted to raise these untimely

 arguments during claim construction. Consequently, Danco does not address in its Opening Brief the

 various allegations of indefiniteness and/or lack-of-enablement set forth in Fluidmaster’s portion of the

 Joint Claim Construction Statement that were not timely included in its P.R. 3-3 contentions.2

 II.      LEGAL PRINCIPLES FOR CONSTRUING PATENT CLAIMS

       The claims of a patent define the invention to which the patentee is entitled the right to exclude.

 Phillips, 415 F.3d at 1312. Claim terms are given their ordinary and customary meaning to one of

 ordinary skill in the art at the time of the invention, unless there is clear evidence in the patent’s

 specification or prosecution history that the patentee intended a different meaning. Id. at 1312-13.

 Claim construction is informed by the intrinsic evidence: the patent’s specification and file history. Id.

 at 1315-17. Courts may also consider evidence such as dictionary definitions and treatises to aid in

 determining the ordinary and customary meaning of claim terms. Id. at 1322.3 Further, “[o]ther claims,

 asserted and unasserted, can provide additional instruction because ‘terms are normally used

 consistently throughout the patent.’” SmartPhone Techs. LLC v. Research in Motion Corp., No. 6:10-

 2
    See Docket Entry # 75 at 7 (Danco’s objection to Fluidmaster’s inclusion of its out-of-time invalidity-indefiniteness
 arguments in its portions of the Joint Claim Construction Statement (“JCCS”)). Fluidmaster included only one
 indefiniteness/lack-of-enablement contention in its P.R. 3-3 Invalidity Contentions. (See Docket Entry # 75 at 5).
 3
   “When the intrinsic evidence is silent as to the plain meaning of a term, it is entirely appropriate for the district court to
 look to dictionaries or other extrinsic sources for context—to aid in arriving at the plain meaning of a claim term.”
 Helmsderfer v. Bobrick Washroom Equip., Inc., 527 F.3d 1379, 1382 (Fed. Cir. 2008).


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  CV-74-LED-JDL, 2012 WL 489112, at *2 (E.D. Tex. Feb. 13, 2012) (citing Phillips, 415 F.3d at

  1314).

         A court should “avoid the danger of reading limitations from the specification into the claim[s].”

  Phillips, 415 F.3d at 1323. For example, “although the specification often describes very specific

  embodiments of the invention, [the Federal Circuit has] repeatedly warned against confining the claims

  to those embodiments.” Id. The Federal Circuit has “expressly rejected the contention that if a patent

  describes only a single embodiment, the claims of the patent must be construed as being limited to that

  embodiment.” Id. This is not only because of the requirements of Section 112 of the Patent Act, but

  also because “persons of ordinary skill in the art rarely would confine their definitions of terms to the

  exact representations depicted in the embodiments.” Id. Limitations from the specification should only

  be read into the claims if the patentee “acted as his own lexicographer and imbued the claim terms with

  a particular meaning or disavowed or disclaimed scope of coverage, by using words or expressions of

  manifest exclusion or restriction.” E-Pass Techs., Inc. v. 3Com Corp., 343 F.3d 1364, 1369 (Fed. Cir.

  2003); Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1367 (Fed. Cir. 2012).

         Similarly, the prosecution history may not be used to infer the intentional narrowing of a claim

  absent the applicant’s clear disavowal of claim coverage. Superguide Corp. v. DirecTV Enters., Inc.,

  358 F.3d 870, 875 (Fed. Cir. 2004) (citations omitted). “To be given effect, such a disclaimer must be

  made with reasonable clarity and deliberateness.” Id.

  III.      LEVEL OF ORDINARY SKILL IN THE ART

         A person or ordinary skill in the art (“POSITA”) of the ‘620 and 687 Patents would typically have

  had: (a) a bachelor’s degree in mechanical engineering, or a related field, and two years of experience

  in the design of plumbing components; or (b) a high school degree and four years of experience in the

  design of plumbing components. (See Ex. I at ¶ 25). A POSITA “would also know and be aware of the

  applicable related engineering standards, such as, for instance, the following ASME standards:



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                “Dual Flush Devices for Water Closets,” ASME A112.19.10-1994;

                “Plumbing Fixture Fittings,” ASME A112.18.1M-1996;

                “Vitreous China Plumbing Fixtures,” ASME A112.19.2M-1998; and

                “Trim for Water-Closet Bowls, Tanks, and Urinals.” ASME A112.19.5.1999.” (Id.).

  IV.      CONSTRUCTIONS OF THE CLAIM TERMS IDENTIFIED BY BOTH PARTIES

           A. “detachably attached” (‘620 Patent: Claim 1; ‘687 Patent: Claims 4, 14)

               Danco’s Proposed Construction                     Lavelle’s Proposed Construction
                                                              “designed for direct separation and direct
                   “removably retained”
                                                       reattachment without degradation (referring to gasket)”

                 1. Danco’s Position

        Claim 1 of the ’620 Patent recites “a gasket detachably attached to the flush mechanism.” Ex. A at

  13:35 (emphasis added). The phrase “detachably attached” requires construction because it would not

  be easily understood by a lay juror. Danco nevertheless contends that “detachably attached” should be

  given its plain and ordinary meaning, which is “removably retained”—a phrase that would be readily

  understood by a lay juror. A POSITA would understand “detachably attached” to mean “removably

  retained,” as it is consistent with the claim phrase’s constituent words “detachably” and “attached.”

  (See Ex. I at ¶ 29). That is, when an object is “attached” to something, the object is “retained.” (See Ex.

  J (defining “attach” as “make fast or join”)). Additionally, something that is “detachable” is

  “removable.” (See Ex. K (defining “detach” as “to separate”)). Accordingly, the plain and ordinary

  meaning of “detachably attached” is “removably retained.” (See Ex. I at ¶¶ 29-32).

        Danco’s construction of this phrase is also consistent with the specification of the ’620 Patent,

  which discloses at least one embodiment in which a gasket is detachably attached to a flush mechanism

  indirectly via an adapter. Figure 7A of the ’620 Patent, for example, illustrates a cross-section of the

  gasket 139 attached to the adapter 133, and Figure 9A illustrates how the adapter can detachably attach

  to a dual flush canister 403. (Ex. A at FIG. 7A and FIG. 9 (annotated)). Figure 7A shows the gasket 139

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  (blue) can be attached to the adapter 133 (red) using “a pointed end of the inward annular projection

  176” that “fits into the pointed annular recess 253” of the adapter 133. (Id.) at 6:31-34. The gasket 139

  is thereby attached, or retained, to the adapter 133.

          Figure 9A above shows that

  mating ears 406 of the dual flush canister

  403 (green) can be slid down into the

  grooves 233 of the adapter 133 and then

  rotated so that the mating ears 406 rotate

  within an annular groove in the adapter

  133. (Id. at 3:62-4:7). In this way, the

  adapter 133 can be attached, or retained, to

  the dual flush canister 403. To detach the

  adapter 133 from the dual flush canister 403, the process of sliding and rotating the mating ears 406 can

  be reversed so that the adapter 133 can be separated from the dual flush canister 403. (See id.). Because

  the gasket 139 can be attached to the dual flush canister 403 via the detachable adapter 133, the gasket

  133 is thus detachably attached—or removably retained—to the dual flush canister 403. Thus, Danco’s

  construction of “detachably attached” is consistent with the specification of the ’620 Patent.

              2. Fluidmaster’s Position

      Fluidmaster attempts to construe this phrase as “designed for direct separation and direct

  reattachment without degradation (referring to gasket).” (See Docket Entry # 72-2 at 3-4).

  Fluidmaster’s proposed construction is wholly improper, as it is vague and confusing and imports

  numerous limitations into the claims that are inconsistent with the meaning of the phrase.

      First, Fluidmaster’s construction should be rejected for being vague and confusing. Fluidmaster’s

  construction includes the phrases “direct separation” and “direct reattachment,” but it is unclear what



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  these phrases actually mean and what would constitute “direct separation” and “direct reattachment”

  when applying this construction. Certainly, a lay juror would be confused by Fluidmaster’s convoluted

  phraseology. Additionally, Fluidmaster’s requirement that the gasket be “designed for direct separation

  and direct reattachment” is improper, as it adds limitations that are not necessary under the plain and

  ordinary meaning of the claim language. It is self-evident that the plain language of the phrase

  “detachably attached” does not require the attachment to be direct. (See Ex. I at ¶ 33).

     Moreover, Fluidmaster’s construction improperly rewrites the claim language to include the notion

  of reattachment. That is, while the express claim language requires a gasket that is merely “detachably

  attached,” Fluidmaster’s construction requires the gasket to be re-attachable (i.e. attachable multiple

  times). There can be no doubt that claims do not require a gasket that must be re-attachable.

  Fluidmaster’s construction also improperly requires the gasket to be re-attachable “without

  degradation.” There is nothing in the claim language, specification, or prosecution history of the ’620

  Patent that would require the gasket to be non-degradable. Fluidmaster’s construction is a thinly veiled

  invitation for the Court to commit reversible error by improperly re-writing the claim language. See K-2

  Corp. v. Salomon S.A., 191 F.3d 1356, 1364 (Fed. Cir. 1999), (stating “[c]ourts do not rewrite claims;

  instead, [they] give effect to the terms chosen by the patentee”).

         B. “flush valve” (‘620 Patent: Claims 1, 21; ‘687 Patent: Claims 4, 14)

               Danco’s Proposed Construction                           Lavelle’s Proposed Construction

       “a valve located at the bottom of a toilet tank used       “valve which uses a sealing member to ensure
        to discharge water from the toilet tank to a toilet       water does not leak into the toilet bowl until a
                             bowl”                                              flush is initiated”


              1. Danco’s Position

     Construction of this phrase by the Court is necessary because “flush valve” is a term of art having a

  specialized meaning to a POSITA that a lay juror would not readily understand. (See Ex. I at ¶ 35).

  Specifically, to a POSITA, the phrase “flush valve” means “a valve located at the bottom of a toilet


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  tank used to discharge water from the toilet tank to a toilet bowl.” (Id.)

      To ascertain the proper construction of this phrase, the Court can look to the guidance provided by

  the American Society of Mechanical Engineers (“ASME”)—a professional engineering organization

  that develops authoritative standards for the plumbing industry. (See Ex. I at ¶¶ 36-37; Ex. L at 7).

  Specifically, ASME publishes at least two standards that expressly define the phrase “flush valve” as

  the following: “a special form of valve located at the bottom of a flush tank used to discharge the water

  from the tank into a water closet or urinal.” (Ex. M at 8; Ex. N at 11). ASME’s definition of “flush

  valve” is completely consistent with, and almost identical to, Danco’s construction of this phrase.

  Fluidmaster cannot reasonably dispute that a POSITA would agree with Danco’s construction, as

  Fluidmaster in its IPR petition challenging the ‘620 Patent requires a POSITA “know and be aware of”

  the same ASME standards define a “flush valve” consistent with Danco’s construction. (Ex. L at 12).

      Moreover, the patents-in-suit use the phrase “flush valve” consistent with Danco’s construction and

  the ASME’s definition. Each and every embodiment of a flush valve disclosed in the patents-in-suit is a

  valve located at the bottom of a toilet tank used to discharge water from the toilet tank to a toilet bowl.

  (See, e.g. Ex. A; Ex. I (Jones Decl.) at ¶ 37). When describing a flush valve, the specifications of the

  patents-in-suit state “[t]he flush valve 100 is generally employed in gravity toilets and includes an

  orifice 106 through which water drains into a toilet bowl during a flush of a toilet as can be

  appreciated.” (Ex. A at 2:24-26). “[T]he flush valves as described herein are those that are configured to

  seat a flapper, flush ball, gasket, or other sealing member to ensure that water does not leak into the

  toilet bowl until a flush is initiated.” (Id. at 2:31-35). Additionally, the specifications explain that a flush

  valve is “secure[d] to the bottom of a toilet tank.” (Id. at 2:38-40). Accordingly, Danco’s construction

  of “flush valve” as “a valve located at the bottom of a toilet tank used to discharge water from the toilet

  tank to a toilet bowl” is consistent with the specifications of the patents-in-suit.




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      Fluidmaster’s own product literature and patents also

  demonstrate that a POSITA’s understanding of this claim

  phrase is “a valve located at the bottom of a toilet tank used to

  discharge water from the toilet tank to a toilet bowl.” In fact,

  Fluidmaster’s U.S. Patent No. 8,250,681 teaches that the flush

  valve 8 illustrated below is a valve located at the bottom of the

  toilet tank used to discharge water from the toilet tank to a toilet

  bowl. (Ex. O at Fig. 1). Fluidmaster’s patent states “[a] water discharge aperture 7 . . . is formed in the

  bottom 3 of the tank 1. The discharge aperture 7 is fitted with a flush valve 8 for discharging water

  from a tank to flush a toilet bowl . . . .” Id. at 3:11-14 (emphasis added).

      Fluidmaster also provides a web page titled “Flush Valves”

  explaining that “[t]oilet flush valves control the release of water

  from the tank to the bowl . . . .” (Ex. P). Fluidmaster’s web page

  also includes an illustration of a flush valve, which is clearly

  located at the bottom of the toilet tank. (See Ex. P at 1).

  Therefore, Danco’s construction of “flush valve” is consistent

  with the understanding of a POSITA, the specifications of the

  patents-in-suit, the ASME standards that Fluidmaster requires a

  POSITA to know, and Fluidmaster’s own teachings regarding flush valves. “Flush valve” means “a

  valve located at the bottom of a toilet tank used to discharge water from the toilet tank to a toilet bowl.”

                     2.    Fluidmaster’s Position

      Fluidmaster attempts to construe “flush valve” as “valve which uses a sealing member to ensure

  water does not leak into the toilet bowl until a flush is initiated.” The first glaring problem with

  Fluidmaster’s construction is that it fails to incorporate the notion of the valve being located at the



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  bottom of the toilet tank. As discussed above, the ASME standards—which Fluidmaster requires a

  POSITA to “know and be award of”—specifically defines “flush valve” to be “a special form of valve

  located at the bottom of a flush tank . . . .” (Ex. M at 8; Ex. N at 11) (emphasis added). Fluidmaster

  cannot escape the reality that a flush valve is located at the bottom of a toilet tank when the ASME

  standards Fluidmaster, itself, relies upon in the contemporaneous IPR petitions specifically define it as

  being located at the bottom of the tank.

     Furthermore, Fluidmaster’s construction is improper because it requires a “sealing member” to be

  physically present on the flush valve. (See Ex. I at ¶ 38). Fluidmaster’s added sealing member

  requirement conflicts with at least the language of claim 1 of the ’620 Patent, which specifically states

  that “the flush valve is configured to seat a sealing member.” (Ex. A at 13:39-40) (emphasis added).

  Thus, while the claim calls for the flush valve to be merely “configured” to seat a sealing member (and

  not necessarily actually present), Fluidmaster’s construction adds a further limitation that the sealing

  member be actually installed. Ultimately, Fluidmaster’s construction is flawed. This Court should

  reject Fluidmaster’s proposed construction and adopt Danco’s for the reasons discussed above.

         C. “dual flush canister” (‘620 Patent: Claims 1, 6, 11, 14; ‘687 Patent: Claims 4, 7, 9, 14,
            17, 19, 20))

            Danco’s Proposed Construction                          Fluidmaster’s Proposed Construction

    “cylindrical-shaped device providing for two flush        “a dual flush mechanism having at least a partially
                        volumes”                                              cylindrical shape”

             1. Danco’s Position

     Construction of this phrase by the Court is necessary because the phrase “dual flush canister” is a

  term of art having a specialized meaning to a POSITA. (See Ex. I at ¶ 41). Specifically, to a POSITA,

  the phrase “dual flush canister” means “cylindrical-shaped device for providing for two flush volumes.”

  The only significant difference between the parties’ constructions revolves around the meaning of the

  word “canister” and whether a POSITA would understand it to mean a “cylindrical-shaped device”



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  (Danco’s construction) or a device “having at least a partially cylindrical shape” (Fluidmaster’s

  construction). As Mr. Jones explains in his declaration, a POSITA would immediately recognize that a

  device that is generally cylindrical. (See Ex. I at ¶¶ 40-41).

      To the extent there is any doubt that a POSITA would understand “dual flush canister” to mean a

  cylindrical device as proposed by Danco, the Court can look to the declaration of Steven E. Maple—the

  purported expert that Fluidmaster relied upon for its two IPR petitions. (See Ex. Q at ¶¶ 51, 55; Ex. R at

  ¶ 82.) Mr. Maple testified that he was Fluidmaster’s Vice President of Engineering and Quality from

  1994-2007, that he was co-chairman of the Flushing Devices Committee for the Plumbing

  Manufacturers Institute (PMI) from 2004-2007, and that he developed several ASME standards. (Exs.

  Q and R at ¶¶ 8-15). Mr. Maple states in his declaration that a POSITA would know a “canister” is

  something that “looks like a can” and that a can “has a cylindrical shape.” (Id. at ¶ 51). Notably, Mr.

  Maple did not state that a “canister” is something that has only “at least a partially cylindrical shape”—

  which is Fluidmaster’s current overly-broad proposed construction. Therefore, even the testimony of

  Fluidmaster’s own professed expert for the IPR petitions is consistent with Danco’s construction that a

  “dual flush canister” means “cylindrical-shaped device providing for two flush volumes.”

  Consequently, this issue in undisputed.

              2. Fluidmaster’s Position

      Nevertheless, in its proposed construction for “dual flush canister” in this litigation, Fluidmaster

  attempts to give the phrase “dual flush canister” the overly broad construction of “a dual flush

  mechanism having at least a partially cylindrical shape.” Under Fluidmaster’s flawed construction,

  virtually any dual flush mechanism would constitute a “dual flush canister,” as long as it included some

  feature that was cylindrically-shaped. For example, if a hypothetical dual flush mechanism was

  generally cubical (i.e., a three-dimensional square) but had a miniscule component that was cylindrical,

  the mechanism could be considered a “dual flush canister” according to Fluidmaster’s incorrect



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  construction because it would have “at least a partially cylindrical shape.” A POSITA would not

  understand such a hypothetical dual flush mechanism to constitute a “dual flush canister.” (Ex. I, ¶ 42).

       Moreover, Fluidmaster’s construction gives the term “canister” a much broader meaning than what

  its own purported expert, Mr. Maple, testified as the meaning of “canister.” As discussed above, Mr.

  Maple states in his declaration that a POSITA would know a “canister” is something that “looks like a

  can” and that a can “has a cylindrical shape”—not “at least a partially cylindrical shape.” (Ex. Q at ¶

  51). Therefore, Fluidmaster’s proposed construction of this phrase is improper.

  V.      CONSTRUCTIONS OF THE REMAINING CLAIM TERMS IDENTIFIED ONLY BY
          FLUIDMASTER AS ALLEGEDLY NEEDING CONSTRUCTION

          A. “gasket” (‘620 Patent: Claims 1, 21)

            Danco’s Proposed Construction                   Fluidmaster’s Proposed Construction

    Needs no construction needed; plain and ordinary    “a non-adhesive object that creates a fluid seal
                        meaning                         which is maintained by compressive resilience”

              1. Danco’s Position

                    a. No construction of this term is needed.

       The term “gasket” is a straightforward term easily understood by a lay juror. As a result, Danco

  submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314 (“In some cases,

  the ordinary meaning of claim language as understood by a person of skill in the art may be readily

  apparent even to lay judges, and claim construction in such cases involves little more than the

  application of the widely accepted meaning of commonly understood words.”). Moreover, claim scope

  was not disavowed anywhere in the specification or during prosecution of the ’620 Patent. Accordingly,

  this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d at 1358 (“We

  have recognized only two exceptions to this general rule [that claims are given their plain meaning]: 1)

  when a patentee sets out a definition and acts as his own lexicographer, or 2) when the patentee

  disavows the full scope of a claim term either in the specification or during prosecution.”).

       Mr. Jones, an undisputed POSITA himself, declares that the term “gasket” would be understood by

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  a POSITA to have its plain and ordinary meaning and that a lay person would easily understand the

  correct meaning of this phrase. (See Ex. I at ¶ 44). Moreover, in its petitions for IPR of the patents-in-

  suit, Fluidmaster conceded that “each of the various claim terms [should] be given their plain meaning”

  and that it was not necessary to “propose any specific claim constructions for the terms” in the

  challenged claims. (Ex. L at 8). Because this term presents no ambiguity, the Court should find that no

  construction is necessary.

                   b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe “gasket,” the Court need only construe it according to the

  plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. L at 8) (“each of the various claim

  terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot overcome the “heavy

  presumption” in favor of giving this phrase its plain and ordinary meaning of the claim language.

  Johnson Worldwide Assocs. v. Zebco Corp., 175 F.3d 985, 989 (Fed. Cir. 1999). A “gasket” is simply

  “a rubber ring, for placing around a joint to make it watertight.” (See Ex. F (“a rubber, metal, or rope

  ring, for packing a piston or placing around a joint to make it watertight”); Ex. G (“a separate or

  attached sealer used in making and closing hermetic or liquid containers to ensure”). This language is

  so easily understood that further simplification is unnecessary and would only overcomplicate an

  otherwise easily understood phrase. (Ex. I at ¶ 45). In fact, the ’620 Patent discloses several examples

  of a “gasket” that support this plain and ordinary meaning. (Ex. A at Figs. 1A-D, 2A-C, 3A-C, 4A-G,

  6A-J, 7A, 8, 9A-C, 19, and 20; Ex. I at ¶ 46).

             2. Fluidmaster’s Position

     Fluidmaster’s proposed “non-adhesive” limitation is unduly and improperly limiting. Whether or

  not a gasket includes an adhesive is irrelevant, as the purpose and function of a gasket is to provide a

  seal. There are even products called “gasket adhesive” (http://www.3m.com/3M/en_US/company-

  us/all-3m-products/~/3M-Neoprene-High-Performance-Rubber-and-Gasket-Adhesive-



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  1300?N=5002385+3293241328&rt=rud).” Adhesive gaskets are well known and commercial available

  (https://www.ramgaskets.com/self-adhesive-gaskets). (Ex. I at ¶ 47).

           B. “detachably attached to the flush mechanism” (‘620 Patent: Claim 1)

         Danco’s Proposed Construction                             Fluidmaster’s Proposed Construction

      Needs no construction; plain and ordinary         “designed for direct separation and direct reattachment to the
                     meaning.                            flush mechanism without degradation (referring to gasket)”

               1. Danco’s Position

      In view of Danco’s proposed construction of “detachably attached” hereinabove, the claim term

  “detachably attached to the flush mechanism” needs no further construction. (See Ex. I (Jones Decl.) at

  ¶¶ 49-50). Moreover, the parties have already agreed that the term “flush mechanism” should be

  afforded its plain and ordinary meaning without construction by the Court, and this part of the phrase in

  therefore undisputed. (Docket Entry #72 at 1).4

               2. Fluidmaster’s Position5

      Fluidmaster’s proposed construction for this term is the exact same construction it proposed for

  “detachably attached,” addressed hereinabove. Accordingly, for the same reasons Fluidmaster’s

  proposed construction for “detachably attached” is improper, Fluidmaster’s proposed construction of

  “detachably attached to the flush mechanism” suffers from the same deficiencies: (a) Fluidmaster’s

  construction inappropriately injects the phrases “direct separation” and “direct reattachment” into the

  alleged meaning of the claim phrase; (b) Fluidmaster’s requirement that the gasket be “designed for

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    See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim construction is a matter of
  resolution of disputed meanings and technical scope, to clarify and when necessary to explain what the patentee covered
  by the claims, for use in the determination of infringement. It is not an obligatory exercise in redundancy.”); see also O2
  Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not (and
  should not be) required to construe every limitation present in a patent’s asserted claims.”); Finjan, Inc. v. Secure
  Computing Corp., 626 F.3d 1197, 1207 (Fed. Cir. 2010) (“Unlike O2 Micro, where the court failed to resolve the parties’
  quarrel, the district court rejected Defendants’ construction.”).
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     Fluidmaster contends in its chart attached to the JCCS that this term is “indefinite.” (See Docket Entry #72-2 at 7-8).
  However, Fluidmaster failed to include in its timely served P.R. 3-3 Invalidity Contentions any grounds for alleged
  invalidity of Claim 1 due to indefiniteness of the term “gasket.” Consequently, “[Fluidmaster] cannot now seek a
  determination that the patents-at-issue are invalid for indefiniteness through claim construction.” Auxilium Pharms., 2014
  U.S. Dist. LEXIS 79962, at *12-13.


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  direct separation and direct reattachment” improperly adds limitations that are not necessary under the

  plain and ordinary meaning of the claim language; (c) this construction improperly rewrites the claim

  language to include the notion of reattachment; and (d) this construction wrongly requires the gasket to

  be re-attachable “without degradation.” (See Ex. I at ¶¶ 33, 52); see also K-2 Corp., 191 F.3d at 1364

  (“[c]ourts do not rewrite claims; instead, [they] give effect to the terms chosen by the patentee”).

         C. “adaptor” (‘620 Patent: Claims 4, 11, 12, 21)

          Danco’s Proposed Construction                       Fluidmaster’s Proposed Construction
                                                     “any of various devices used in adjusting or fitting to each
       Needs no construction; plain and ordinary      other the separate parts of a machine or apparatus whose
                      meaning.                        design is such that adjustment or fitting would otherwise
                                                        not be possible (as two pipes of different diameters)”

              1. Danco’s Position

                    a. No construction of this term is needed.

     The term “adaptor” is a straightforward term easily understood by a lay juror. As a result, Danco

  submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover, claim

  scope was not disavowed anywhere in the specification or during prosecution of the ’620 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “adaptor” would be understood by a POSITA to have its plain and ordinary meaning,

  and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶ 54).

  Fluidmaster has conceded that it is not necessary to “propose any specific claim constructions” for the

  term “adaptor.” (Ex. L at 8). As a result, no construction of this term is needed.

                    b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe “adaptor,” the Court need only construe it according to

  the plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. L at 8) (“each of the various

  claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot overcome the

  “heavy presumption” in favor of giving this phrase its plain and ordinary meaning of the claim


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  language. Johnson Worldwide, 175 F.3d at 989. An “adaptor” is simply “a connector for joining parts.”

  (See Ex. J (“a connector for joining parts or devices having different sizes, designs, etc., enabling them

  to be fitted or to work together]”); Ex. K (“any of various devices used in adjusting or fitting to each

  other the separate parts of a machine or apparatus”)). This term presents no ambiguity, and it is so

  easily understood that further simplification is unnecessary and would only overcomplicate an

  otherwise easily understood phrase. (Ex. I at ¶ 55). In fact, the ’620 Patent discloses several examples

  of an “adaptor” that support this plain and ordinary meaning. (Ex. A at Figs. 1A-D, 2A-C, 3A-C, 5, 6D-

  F, 7A-B, 8, 9A-B, 10A-D, 11A-B, 12-13, 15-24, and 28-44; Ex. I at ¶ 56).

             2. Fluidmaster’s Position

     Fluidmaster’s proposed construction adds into the plain language of the claim term the limitation

  that the “design is such that adjustment or fitting would otherwise not be possible (as two pipes of

  different diameters).” This is an attempt by Fluidmaster to import a limitation into the meaning of a

  term based on how it is used, as opposed to what it is improperly imports a limitation from a preferred

  embodiment. See Phillips, 415 F.3d at 1323 (“[A]lthough the specification often describes very specific

  embodiments of the invention, [the Federal Circuit has] repeatedly warned against confining the claims

  to those embodiments.”). Otherwise, this term presents no ambiguity, and Fluidmaster’s proposed

  construction adds nothing that is not already present in the ordinary meaning of “adaptor” and should

  therefore be rejected. See U.S. Surgical, 103 F.3d at 1568.

         D. “rotatably coupled” (‘620 Patent: Claim 12)

            Danco’s Proposed Construction                     Fluidmaster’s Proposed Construction

    Needs no construction; plain and ordinary meaning.             “coupled through rotation”

             1.   Danco’s Position

                   a. No construction of this term is needed.

     The term “rotatably coupled” is a straightforward term easily understood by a lay juror. As a result,


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  Danco submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover,

  claim scope was not disavowed anywhere in the specification or during prosecution of the ’687 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “rotatably coupled” would be understood by a POSITA to have its plain and ordinary

  meaning, and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶

  60). Fluidmaster has conceded that it is not necessary to “propose any specific claim constructions” for

  the term “rotatably coupled.” (Ex. L at 8). As a result, no construction of this term is needed.

                      b. If construed, the term should be given its plain and ordinary meaning.

      To the extent the Court elects to construe “rotatably coupled,” the Court need only construe it

  according to the plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. L at 8) (“each of

  the various claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot

  overcome the “heavy presumption” in favor of giving this phrase its plain and ordinary meaning of the

  claim language. Johnson Worldwide, 175 F.3d at 989. “Rotatably coupled” is simply “connected by

  turning.” (See Ex. J (“turn around a center point” to “join or connect”); Ex. K (“mechanically

  connected,” “capable of being rotated”). This language is so easily understood that further

  simplification is unnecessary and would only overcomplicate an otherwise easily understood phrase.

  (Ex. I at ¶ 61). In fact, the ’620 Patent discloses several examples of “rotatably coupled” that support

  this plain and ordinary meaning. (Ex. A at Figs. 1A-D, 2A-C, 3A-C, 5, 6D-F, 7A-B, 8, 9A-C, 10A-D,

  11A-B, 12-13, 15-24, and 28-44; Ex. I at ¶ 62).

               2.    Fluidmaster’s Position6

      Fluidmaster’s proposed construction adds nothing that is not already present in the ordinary


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    Fluidmaster contends in its chart attached to the JCCS that this term is “indefinite.” (See Docket Entry # 72-2 at 14).
  However, Fluidmaster failed to include in its timely served P.R. 3-3 Invalidity Contentions any grounds for alleged
  invalidity of Claim 12 due to indefiniteness of the term “rotatably coupled.” Consequently, “[Fluidmaster] cannot now
  seek a determination that the patents-at-issue are invalid for indefiniteness through claim construction.” Auxilium
  Pharms., 2014 U.S. Dist. LEXIS 79962, at *12-13.


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  meaning of “rotatably coupled” and should therefore by expressly rejected. (Ex. I at ¶ 62). See U.S.

  Surgical, 103 F.3d at 1568.

         E. “actuator” (‘620 Patent: Claim 22)

           Danco’s Proposed Construction                     Fluidmaster’s Proposed Construction

                                                        Indefinite; if determined not to be indefinite, “part
   Needs no construction; plain and ordinary meaning.
                                                              or assembly which causes movement”

             1. Danco’s Position

                   a. No construction of this term is needed.

     The term “actuator” is a straightforward term easily understood by a lay juror. As a result, Danco

  submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover, claim

  scope was not disavowed anywhere in the specification or during prosecution of the ’620 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “actuator” would be understood by a POSITA to have its plain and ordinary

  meaning, and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶

  65). Fluidmaster has conceded that it is not necessary to “propose any specific claim constructions” for

  the term “actuator.” (Ex. L at 8). As a result, no construction of this term is needed.

                   b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe “actuator,” the Court need only construe it according to

  the plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. L at 8) (“each of the various

  claim terms [should] be given their plain meaning”). Accordingly, the “heavy presumption” favors

  giving this phrase its plain and ordinary meaning of the claim language. Johnson Worldwide, 175 F.3d

  at 989. An “actuator” is simply “mechanism to start a process.” (See Ex. J (“start a process; turn on”);

  Ex. K (“mechanism s by means of which something is moved or controlled indirectly instead of by

  hand”). This language is easily understood; further simplification is unnecessary and would only

  overcomplicate an otherwise easily understood phrase. (Ex. I at ¶ 66).

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            2.   Fluidmaster’s Position

     While Fluidmaster contends that this term is “indefinite,” it does not set forth in its portion of the

  Joint Claim Construction and Prehearing Statement its basis for such a contention. (See Docket Entry #

  72-2 at 15-16). Nevertheless, Fluidmaster’s proposed construction adds nothing that is not already

  present in the ordinary meaning of “actuator” and should therefore be expressly rejected. (Ex. I at ¶ 67).

  See U.S. Surgical, 103 F.3d at 1568.

         F. “adapter” (‘687 Patent: Claim 14)

           Danco’s Proposed Construction                     Fluidmaster’s Proposed Construction
                                                        “any of various devices used in adjusting or fitting
                                                          to each other the separate parts of a machine or
   Needs no construction; plain and ordinary meaning.   apparatus whose design is such that adjustment or
                                                          fitting would otherwise not be possible (as two
                                                                   pipers of different diameters)”

             1. Danco’s Position

                   a. No construction of this term is needed.

     The term “adapter” is a straightforward term easily understood by a lay juror. As a result, Danco

  submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover, claim

  scope was not disavowed anywhere in the specification or during prosecution of the ’620 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “adapter” would be understood by a POSITA to have its plain and ordinary meaning,

  and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶ 69).

  Fluidmaster has conceded that it is not necessary to propose any specific claim constructions for the

  term “adapter.” (Ex. S at 6). As a result, no construction of this term is needed.

                   b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe “adapter,” the Court need only construe it according to the

  plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. S at 6) (“each of the various

  claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot overcome the

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  “heavy presumption” in favor of giving this phrase its plain and ordinary meaning of the claim

  language. Johnson Worldwide, 175 F.3d at 989. An “adapter” is simply “a connector for joining parts.”

  (See Ex. J (“a connector for joining parts or devices having different sizes, designs, etc., enabling them

  to be fitted or to work together]”); Ex. K (“any of various devices used in adjusting or fitting to each

  other the separate parts of a machine or apparatus”). Therefore, this term presents no ambiguity, and it

  is so easily understood that further simplification is unnecessary and would only overcomplicate an

  otherwise easily understood phrase. (Ex. I at ¶ 70). In fact, the ’687 Patent discloses several examples

  of an “adapter” that support this plain and ordinary meaning. (Ex. B at Figs. 10A-D, 11A-B, 12-13,

  14A-B, 15-17, 18-23, and 28-44; Ex. I at ¶ 71).

               2. Fluidmaster’s Position7

       Fluidmaster’s proposed construction is incorrect, because it adds into the plain language of the

  claim term the limitation that the “design is such that adjustment or fitting would otherwise not be

  possible (as two pipes of different diameters).” (Ex. I at ¶¶ 72-73). This is an attempt by Fluidmaster to

  import a limitation into the meaning of the term “adaptor” based on how it is used, as opposed to what

  it is improperly imports a limitation from a preferred embodiment. Otherwise, Fluidmaster’s proposed

  construction adds nothing that is not already present in the ordinary meaning of “adapter” and should

  therefore by expressly rejected. (Id.) See U.S. Surgical, 103 F.3d at 1568.

           G. “mate” / “configured to mate” / “configured to mate to a flush valve opening” (‘687
              Patent: Claim 14)

      Danco’s Proposed Construction                        Fluidmaster’s Proposed Construction
                                           mate: “a custom-fit pair connected in a direct nesting relationship”
      Needs no construction; plain and
            ordinary meaning.
                                           configured to mate: “a pair designed to custom-fit in a direct nesting


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    Fluidmaster contends in its chart attached to the JCCS t that this term is “indefinite.” (See Docket Entry # 72-2 at 16).
  However, Fluidmaster failed to include in its timely served P.R. 3-3 Invalidity Contentions any grounds for alleged
  invalidity of Claim 14 due to indefiniteness of the term “adapter.” Consequently, “[Fluidmaster] cannot now seek a
  determination that the patents-at-issue are invalid for indefiniteness through claim construction.” Auxilium Pharms., 2014
  U.S. Dist. LEXIS 79962, at *12-13.


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                                      relationship”

                                      configured to mate to a flush valve opening: “a pair designed to
                                      custom-fit in a direct nesting relationship to a flush valve opening”

            1.   Danco’s Position

                   a. No construction of these terms is needed.

     Fluidmaster proposed three different iterations of the claim term “mate” for construction, all three

  of which terms emanate from the same element of Claim 14 of the ‘687 Patent. (Docket Entry # 72 at 2-

  3). The term “mate” is a straightforward term easily understood by a lay juror. (Ex. I at ¶ 75). As a

  result, Danco submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. No

  claim scope was disavowed anywhere in the specification or during prosecution of the ’687 Patent with

  respect to these terms/phrases. Accordingly, they should each be afforded their plain and ordinary

  meaning. Unwired Planet, 829 F.3d at 1358. The term “configured to mate” would be also be

  understood by a POSITA to have its plain and ordinary meaning. (Ex. I at ¶ 75). Fluidmaster has

  conceded that it is not necessary to propose any specific claim constructions for the terms “mate,”

  “configured to mate,” and “configured to mate to a flush valve opening.” (Ex. S at 8). As a result, no

  construction of these terms is needed.

                   b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe any of the three iterations of “mate,” “configured to

  mate,” or “configured to mate to a flush valve opening,” the Court need only construe them according

  to the plain and ordinary meaning of the terms/phrases. Fluidmaster agrees. (See Ex. S at 6) (“each of

  the various claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot

  overcome the “heavy presumption” in favor of giving these terms/phrases the plain and ordinary

  meaning of the claim language. Johnson Worldwide, 175 F.3d at 989. “Mate” simply means “to

  match.” (See Ex. J (“to match or marry”). “Configured” simply means “arranged in a certain form.”

  (See Ex. K (“to arrange in a certain form, figure, or shape”). The parties have already agreed that the

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  term “flush valve opening” should be given its plain and ordinary meaning. (Docket Entry No. 72 at 1).

  Therefore, this language is already so easily understood that further simplification is unnecessary and

  would only overcomplicate an otherwise easily understood phrase. (Ex. I at ¶¶ 75-76). In fact, the ’687

  Patent discloses several examples of “mat[ing] to a flush valve opening” that support this plain

  meaning. (Ex. A at Figs. 1A-D, 3A-C, 5, 7A, 8, 9A-B, 10A-D, 15-17, and 18-23; Ex. I at ¶ 77).

              2.   Fluidmaster’s Position8

       This is an attempt by Fluidmaster to import the “direct nesting relationship” limitation that varies

  from the plain meaning of the terms and is not present in the claim language. (Ex. I at ¶¶ 79-80). See

  Phillips, 415 F.3d at 1323 (“[A]lthough the specification often describes very specific embodiments of

  the invention, [the Federal Circuit has] repeatedly warned against confining the claims to those

  embodiments.”). Other than this improper injection of undue limitation, Fluidmaster’s proposed

  construction adds nothing that is not already present in the ordinary meaning of “mate/configured to

  mate/configured to mate to a flush valve opening” and should therefore be expressly rejected. (Ex. I at ¶

  80). See U.S. Surgical, 103 F.3d at 1568.

           H. “basket structure” (‘687 Patent: Claims 4, 9, 13, 14, 19, 20)

         Danco’s Proposed Construction                            Fluidmaster’s Proposed Construction
                                                        “a spacer having two parallel rings vertically separated by
      Needs no construction; plain and ordinary
                                                         connecting members, the lower ring having a horizontal
                     meaning.
                                                                        orientation (e.g. a floor).”

               1. Danco’s Position

                      a. No construction of this term is needed.

       The term “basket structure” is a straightforward term easily understood by a lay juror. As a result,

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    Fluidmaster contends in its chart attached to the JCCS that these terms/phrases are “indefinite.” (See Docket Entry #
  72-2 at 18-19 and 21-22). However, Fluidmaster failed to include in its timely served P.R. 3-3 Invalidity Contentions any
  grounds for alleged invalidity of Claim 14 due to indefiniteness of the any of the terms/phrases “mate,” “configured to
  mate,” or “configured to mate to a flush valve opening.” Consequently, “[Fluidmaster] cannot now seek a determination
  that the patents-at-issue are invalid for indefiniteness through claim construction.” Auxilium Pharms., 2014 U.S. Dist.
  LEXIS 79962, at *12-13.


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  Danco submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover,

  claim scope was not disavowed anywhere in the specification or during prosecution of the ’687 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “basket structure” would be understood by a POSITA to have its plain and ordinary

  meaning, and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶

  82). Fluidmaster has conceded that it is not necessary to propose any specific claim constructions for

  the term “basket structure.” (Ex. S at 6). As a result, no construction of this term is needed.

                   b. If construed, the term should be given its plain and ordinary meaning.

     To the extent the Court elects to construe “basket structure,” the Court need only construe it

  according to the plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. S at 6) (“each of

  the various claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot

  overcome the “heavy presumption” in favor of giving this phrase its plain and ordinary meaning of the

  claim language. Johnson Worldwide, 175 F.3d at 989. A “basket structure” is simply “basket-shaped

  structure.” (See Ex. J (“anything like a basket in shape or use”); Ex. K (“something constructed or

  built”). This language is so easily understood that further simplification is unnecessary and would only

  overcomplicate an otherwise easily understood phrase. (Ex. I at ¶ 83). In fact, the ’687 Patent discloses

  several examples of a “basket structure” that support this plain and ordinary meaning. (Ex. B at Figs.

  10A-D, 14A-B, 15-23; Ex. I at ¶ 84).

             2. Fluidmaster’s Position

     Fluidmaster’s proposed construction adds into the plain language of the claim term the limitations

  of “a spacer having two parallel rings vertically separated by connecting members, the lower ring

  having a horizontal orientation.” (Ex. I at ¶ 86). This is an attempt by Fluidmaster to import a limitation

  into the meaning of a term based on how it is used, as opposed to what it is improperly imports a

  limitation from a preferred embodiment. See Phillips, 415 F.3d at 1323 (“[A]lthough the specification



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  often describes very specific embodiments of the invention, [the Federal Circuit has] repeatedly warned

  against confining the claims to those embodiments.”). Otherwise, this term presents no ambiguity, and

  Fluidmaster’s proposed construction adds nothing that is not already present in the ordinary meaning of

  “basket structure” and should therefore be rejected. (Ex. I at ¶ 86). See U.S. Surgical, 103 F.3d at 1568.

          I. “second end” (‘687 Patent: Claims 4, 13, 14, 20)

            Danco’s Proposed Construction                       Fluidmaster’s Proposed Construction
                                                             “the lower ring having a horizontal orientation
   Needs no construction; plain and ordinary meaning.
                                                                  (e.g. a floor) of the basket structure.”

              1. Danco’s Position

                    a. No construction of this term is needed.

      The term “second end” is an elementary term easily understood by a lay juror. As a result, Danco

  submits that construction of this term is unnecessary. See Phillips, 415 F.3d at 1314. Moreover, claim

  scope was not disavowed anywhere in the specification or during prosecution of the ’687 Patent.

  Accordingly, this phrase should be afforded its plain and ordinary meaning. Unwired Planet, 829 F.3d

  at 1358. The term “second end” would be understood by a POSITA to have its plain and ordinary

  meaning, and a lay person would easily understand the correct meaning of this phrase. (See Ex. I at ¶

  88). Fluidmaster has conceded that it is not necessary to propose any specific claim constructions for

  the term “second end.” (Ex. S at 6). As a result, no construction of this term is needed.

                    b. If construed, the term should be given its plain and ordinary meaning.

      To the extent the Court elects to construe “second end,” the Court need only construe it according

  to the plain and ordinary meaning of the term. Fluidmaster agrees. (See Ex. S at 6) (“each of the various

  claim terms [should] be given their plain meaning”). Accordingly, Fluidmaster cannot overcome the

  “heavy presumption” in favor of giving this phrase its plain and ordinary meaning of the claim

  language. Johnson Worldwide, 175 F.3d at 989. A “second end” is simply “the latter of two

  extremities.” (See Ex. J (“being the latter of two equal parts”; “part or place at or adjacent to an

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  extremity”); Ex. K (“the portion of an area or territory that lies at or by the termination”). This language

  is so easily understood that further simplification is unnecessary and would only overcomplicate an

  otherwise easily understood phrase. (Ex. I at ¶ 89). In fact, the ’687 Patent discloses several examples

  of a “second end” that support this plain and ordinary meaning. (Ex. B at Figs. 4D, 22A; Ex. I at ¶ 90).

                2. Fluidmaster’s Position9

        Fluidmaster’s proposed construction adds into the plain language of the claim term the limitations

  of “the lower ring having a horizontal orientation (e.g., a floor) of the basket structure.” (Ex. I at ¶ 92).

  This is an attempt by Fluidmaster to import a limitation into the meaning of a term based on how it is

  used, as opposed to what it is improperly imports a limitation from a preferred embodiment. See

  Phillips, 415 F.3d at 1323. Other than this improper injection of gratuitous limitations, Fluidmaster’s

  proposed construction adds nothing that is not already present in the ordinary meaning of “second end”

  and should therefore be expressly rejected. (Ex. I at ¶ 92). See U.S. Surgical, 103 F.3d at 1568.

            J. “couple to the dual flush canister” (‘687 Patent: Claims 4, 14, 20)

              Danco’s Proposed Construction                         Fluidmaster’s Proposed Construction
      Needs no construction; plain and ordinary meaning.       “connected to the dual flush canister by the user”

                1. Danco’s Position

                      a. No construction of this term is needed.

        The phrase “couple to the dual flush canister” is an elementary term easily understood by a lay

  juror. As a result, Danco submits that construction of this term is unnecessary. See Phillips, 415 F.3d at

  1314. Moreover, claim scope was not disavowed anywhere in the specification or during prosecution of

  the ’687 Patent regarding this phrase. Accordingly, this phrase should be afforded its plain and ordinary


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   Fluidmaster contends in its P.R. 4-3 chart attached to the JCCS that this term is allegedly “indefinite.” (See Docket No.
  72-2 at 27). However, Fluidmaster failed to include in its timely served P.R. 3-3 Invalidity Contentions any grounds for
  alleged invalidity of Claims 4, 13, 14, or 20 due to indefiniteness of the term “second end.” Consequently, “[Fluidmaster]
  cannot now seek a determination that the patents-at-issue are invalid for indefiniteness through claim construction.”
  Auxilium Pharms., 2014 U.S. Dist. LEXIS 79962, at *12-13.


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  meaning. Unwired Planet, 829 F.3d at 1358. The phrase “couple to the dual flush canister” would be

  understood by a POSITA to have its plain and ordinary meaning, and a lay person would easily

  understand the correct meaning of this phrase. (See Ex. I at ¶ 94). Fluidmaster has conceded that it is

  not necessary to “propose any specific claim constructions” for the term “second end.” (Ex. S at 6). As

  a result, no construction of this term is needed.

                      b. If construed, the term should be given its plain and ordinary meaning.

        In view of Danco’s proposed construction of “dual flush canister” hereinabove, the claim phrase

  “couple to the dual flush canister” needs no further construction. (See Ex. I at ¶ 95). The additional

  phrase “couple to” should be afforded its plain and ordinary meaning without construction by the Court.

  “Couple to” simply means “join or connect” to. (See Ex. J (“join or connect”); Ex. K (“mechanically

  connect”). This language is easily understood; further simplification is needless and would only

  overcomplicate an easily understood phrase. (Ex. I at ¶¶ 94-96). See U.S. Surgical, 103 F.3d at 1568.

                2. Fluidmaster’s Position

        Fluidmaster’s proposed construction adds nothing that is not already present in the ordinary

  meaning of “couple to the dual flush canister” and should therefore by expressly rejected. See U.S.

  Surgical, 103 F.3d at 1568.

  VI.       FLUIDMASTER’S CONTENTIONS AS TO CLAIM PHRASES PROPOSED TO BE
            COVERNED BY 35 U.S.C. § 112, PARA. 6

        Fluidmaster asserts that a number of phrases in the asserted claims of the ‘687 Patent should be

  governed by the means-plus-function provisions of 35 U.S.C. § 112, paragraph 6:

           “flush opening” / “a flush opening configured to mate to a basket structure of a dual flush
            canister for a toilet”;

           “first end” / “the first end being configured to couple to a dual flush canister";

           “tab(s)” / “tabs extending inward”;

           "the plurality of tabs being configured to engage a lip of a flush opening of a flush valve
            previously installed in the toilet”;

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          “adapter flush opening of a flush valve adapter”; and

          “circular support structure” / “a circular support structure configured to align the dual flush
           canister with the dual flush opening.”

  (Docket Entry # 72-2 at 17-38). Danco denies that any of these terms should be deemed by the Court to

  be so governed, and, instead, contends that they should all be properly afforded their plain and ordinary

  meaning as understood by one of ordinary skill the art.10

           A. These terms are not “means-plus-function” claims under 35 U.S.C. § 112, para. 6

       Under 35 U.S.C. § 112, ¶ 6 (pre-AIA), a claim element “may be expressed as a means or step for

  performing a specified function without the recital of structure, material, or acts in support thereof.” In

  Williamson v. Citrix Online, LLC, the Federal Circuit revised the standard for determining whether a

  claim invokes mean-plus-function treatment under § 112, ¶ 6. Williamson, 792 F.3d 1339 (Fed. Cir.

  2015). Specifically, the Federal Circuit held that the standard for determining whether a phrase invokes

  § 112, ¶ 6 is “whether the words of the claim are understood by persons of ordinary skill in the art to

  have a sufficiently definite meaning as the name for structure.” Id. at 1349 (emphasis added). The use

  of the word “means” creates a presumption that § 112, ¶ 6 applies. Id. On the other hand, the absence of

  the word “means” creates a presumption that § 112, ¶ 6 does not apply. Id.

       It is beyond dispute that none of the phrases suggested by Fluidmaster as invoking § 112, ¶ 6 uses

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     Of these 10 purported “means-plus-function” terms/phrases, Fluidmaster contends for the very first time in its P.R. 4-3
  chart attached to the JCCS that the following seven terms/phrases are allegedly indefinite:
        “flush opening”;
        “a flush opening configured to mate to a basket structure of a dual flush canister for a toilet”;
        “the first end being configured to couple to a dual flush canister";
        “tab(s)”; "the plurality of tabs being configured to engage a lip of a flush opening of a flush valve previously
            installed in the toilet";
        “adaptor flush opening of a flush valve adaptor”;
        “circular support structure”; and
        "a circular support structure configured to align the dual flush canister with the dual flush opening."
  (See Docket Entry # 72-2 at 17-38). Fluidmaster also elected not to disclose in its P.R. 4-2 disclosure any contentions that
  these terms/phrases were indefinite. (See Ex. H at 5). Moreover, Fluidmaster failed to include in its timely served P.R. 3-3
  Invalidity Contentions any grounds for alleged invalidity of any claims of the ‘687 Patent due to indefiniteness of these
  phrases. Consequently, “[Fluidmaster] cannot now seek a determination that the patents-at-issue are invalid for
  indefiniteness through claim construction.” Auxilium Pharms., 2014 U.S. Dist. LEXIS 79962, at *12-13.


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  the word “means.” Because each of the above-referenced phrases lacks the word “means,” each of them

  is presumed not to invoke § 112, ¶ 6. Williamson, 792 F.3d at 1349. Moreover, it is Fluidmaster’s

  burden to establish that this presumption is overcome by demonstrating that the phrase either fails to

  recite sufficiently definite structure or recites function without reciting sufficient structure for

  performing that function. Id. Because none of these phrases even recite a specified function, they

  cannot be mean-plus-function elements. See 35 U.S.C. § 112, ¶ 6 (stating that a means-plus-function

  element must “express” a “specified function.” Accordingly, Fluidmaster cannot rebut the presumption

  that § 112, ¶ 6 does not apply to these phrases, and the Court’s construction of them is unnecessary.

          B. Fluidmaster does not proposed a separate, specific construction for any of these claim
             phrases beyond the § 112, ¶ 6 allegations

      Danco’s position is that none of these claim phrases, to the extent their meaning is disputed, need be

  construed by the Court. See Phillips, 415 F.3d at 1314. Moreover, no claim scope was disavowed

  anywhere in the specification or during prosecution of the ’687 Patent with respect to these

  terms/phrases, and they should each be afforded their plain and ordinary meaning. Unwired Planet,

  829 F.3d at 1358. Fluidmaster, itself, has conceded that it is not necessary to “propose any specific

  claim constructions for the terms” in the challenged claims, including each of these terms/phrases. (Ex.

  S at 8). Danco agrees, and, as a result, no construction of these terms/phrases is needed.

      Moreover, in neither its P.R. 4-2 disclosure nor the Joint Claim Construction Statement did

  Fluidmaster set forth a proposed a separate, specific construction for any of these claim phrases beyond

  its § 112, ¶ 6 allegations. As a result, if the Court agrees that Fluidmaster’s assertions as to the

  applicability of § 112, ¶ 6 are, indeed, misplaced, then these phrases need no further construction by the

  Court and should be deemed to have their plain and ordinary meaning as understood by a POSITA.

  VII.    CONCLUSION

      For the reasons stated above, the Court should adopt Danco’s proposed constructions (see Exhibit

  T). A Proposed Order setting forth the proper constructions is attached for the Court’s convenience.


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       Respectfully submitted, this 17th day of July, 2017.

                                              Respectfully,

                                              /s/ Eric G. Maurer

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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION


  DANCO, INC.,

        Plaintiff,

  v.                                                  Civil Action No.: 5:16-CV-00073-JRG-CMC


  FLUIDMASTER, INC.,

        Defendant.


                                     CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2017, I caused a true and correct copy of the foregoing

  PLAINTIFF DANCO, INC.’S OPENING CLAIM CONSTRUCTION BRIEF to be served this day in

  electronic form on all counsel of record via filing same with the Court via CM/ECF.

                                                Respectfully submitted,

                                                /s/ Eric G. Maurer

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